       Case 4:20-cv-01082 Document 110 Filed on 08/20/21 in TXSD Page 1 of 1


UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

                                  HOUSTON DIVISION

U.S. Bank Trust, N.A.
   Plaintiff(s),

v.                                                       Case No. 4:20−cv−01082

Michael S. Dougherty, et al.
  Defendant(s).



                               NOTICE OF SETTING
                               PLEASE TAKE NOTICE

                              HEARING: Motion Hearing
                            RE: Motion for Contempt − #105
                          Motion for Miscellaneous Relief − #109
                                   DATE:     8/23/2021
                                    TIME:   03:00 PM
                                 HAS BEEN SET BEFORE
                                JUDGE KEITH P. ELLISON


          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
        ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.
IF THE PARTIES WOULD LIKE TO JOINTLY REQUEST AN IN−PERSON HEARING,
               PLEASE NOTIFY ARTURO RIVERA BY EMAIL.




Nathan Ochsner, Clerk                                               Date: August 20, 2021

By Deputy Clerk, A. Rivera
